                     Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 1 of 17

AO 91 (Rev, 02/09) Criminal Complaint




               United States District Court
                                                              for the
                                                    Western District of New York



                          United States of America

                                                                                          Case No. 19-MX



                            THEODORE LORIA

                                        Defendant
                                                                                             /'o
                                                                                                           S£P J 0 2019
                                                      CRIMINAL COMPLAINT


           I, NICHOLAS MAZZOLA. FBI, the complainant in this case, state that the                               - -t'YPh
my knowledge and belief.
      Beginning in or about December 2016 continuing through the present, in the County of Monroe, in the
Western District of New York, the defendant violated 18 U.S.C. 2261A('1¥B'). 2261A("2VB'). offenses described as
follows:


the defendant, with the intent to kill, injure, harass, intimidate or place under surveillance with the intent to kiU,
injure, harass or intimidate, engaged in conduct and used an interactive computer serviceor electronic communication
system of interstate commerce to engage in a course of conduct that caused or attempted to cause substantial
emotional distress to another person, in violation of Title 18, U.S.C. §§ 2261A(1)(B), 2261A(2)(B).

SEE ATTACHED AFFIDAVIT OF NICHOLAS MAZZOLA, T.F.O., FBI.
           This Criminal Complaint is based on these facts:


           ^   Continued on the attached sheet.

                                                                                             'omplainant's signature


                                                                        NICHOLAS             ZOT.A. T.F.O.. FBI
                                                                         'nted name and

Sworn to before me and signed in my presence.

Date: September i^ .2019
                                                                                                   Judge's signature


                                                                          NORABLE JONATHAN W. FELDMAN
City and State: Rochester. New York                                       TTED STATES MAGISTRATE JUDGE
                                                                                              Printed name and title
          Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 2 of 17




                                           AFFIDAVIT


 STATE OF NEW YORK )
 COUNTY OF MONROE )                  SS:
 CITY OF ROCHESTER )

        I, Nicholas Mazzola, being duly sworn, depose and state the following:


        1.       I am a pohce investigator employed by the Rochester Police Department and

am currently assigned as a Task Force Officer on the FBI Cyber Squad, Buffalo Division, in

Rochester, NY. I have been a police oflftcer since 1994, an investigator since 2003, and was

assigned to the Major Crimes Unit from January, 2011 to December, 2018.1 have attended

numerous courses in criminal investigations, and have had the opportunity to conduct,

coordinate and or participate in a number of successful investigations involving burglaries,

robberies, weapons possession, assaults, larcenies, cyber and economic crimes, child

pornography/ exploitation, and homicides, and have interviewed hundreds of defendants.

Victims, witnesses and others who have been involved in such offenses.

        2.       I make this affidavit in support of a criminal complaint charging

THEODORE LORIA, with violation of Title 18, United States Code, Sections 2261A(1)(B),

2261A(2)(B)(Cyber Stalking).

        3.       All information contained in this affidavit is either personally known by me

or has been related to me by other law enforcement agents. Since this affidavit is being

submitted for the limited purpose of securing a criminal complaint, I have not included each

 and every fact known to me concerning this investigation. I have set forth only the facts that

I beheve are necessary to establish probable cause to believe that THEODORE LORIA did

knowingly violate Title 18, United States Code, Sections 2261A(1)(B), 2261A(2)(B)_(Cyber

 Stalking).
         Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 3 of 17




                          BACKGROUND OF INVESTIGATION


       4.        On or about June 26, 2018 the Buffalo FBI Cyber Task Force was notified of

a possible cyber stalking campaign being executed by Theodore LORIA of Irondequoit, NY.

The FBI interviewed the Victim on June 27, 2018, she provided a verbal statement and

documentation of the stalking campaign from the previous years.

       5.       The Victim stated she met LORIA in May 2015 at the Victim's place of

employment. Shortly after the meeting, LORIA expressed an interest in dating, which was

not reciprocated by the Victim. In or about September 2015, LORIA contacted the Victim

and told her that they needed to talk as her life was in danger. In a subsequent conversation,

LORIA told the Victim that he had overheard, while in a steakhouse, the Victim's ex-

boyfriend and father of the Victim's daughter, say that the Victim was better off dead and that

the ex-boyfriend was going to Idll her (the Victim). LORIA then offered to keep an eye on

the ex-boyfriend and the Victim to ensure her safety.

       6.       On October 31, 2015, LORIA told the Victim that he had seen a mysterious

car circling her property and that he chased it away. He also told the Victim that Halloween

is an easy night to commit murder because it was the one night when wearing a mask was not

questioned. LORIA told the Victim he would stay on her driveway through the night to

ensure her safety. The Victim could not confirm if LORIA did stay the entire evening as the

full length of the driveway is not visible from residence.

       7.       LORIA and the Victim became romantically involved for approximately

three months in late spring to early summer 2016. During that time, LORIA became

protective of the Victim and jealous of any male clients or employees. LORIA would
            Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 4 of 17




routinely monitor the Facebook page of the Victim and would comment to her about online

conversations she had with males on the Facebook page. In the summer of 2016, the Victim

began to distance herself from LORIA. In June 2016, LORIA requested to meet the Victim

at a local Dunkin Donuts. In that meeting LORIA presented the Victim with a diamond ring

and said that he wanted people to know that the Victim was spoken for. The Victim refused

to take the ring at which point LORIA stated "take the fucking ring" and "put the god damn

ring on your fucking finger." The Victim kept the ring and departed the location. She was

followed by LORIA to a new location where he apologized. The Victim stated she did not

speak with LORIA for several months after.

       8.        Months later the Victim saw LORIA in her driveway as she was walking her

daughter to the bus stop. LORIA told the Victim, "give me my fucking ring back." The

Victim gave the rmg back to LORIA only to have it returned outside her door at a later date.

On December 30, 2016, the Victim received a text message from phone number 585-280-

XXXX that stated, "Your DEAD cop calling bitch [address ofVictim]". The Victim provided

a screenshot ofthis text message to the FBI. This phone number was not known to the Victim

as she had known LORIA's personal cellular phone to be 585-739-XXXX. The Victim

believed this text message, and others to be included in this affidavit, were sent from LORIA

as she had known him to often misuse 'your' vs. 'you're' and would capitalize words within

a text for emphasis.

       9.        The Victim told the FBI tiiat she also received threats from LORIA both in

phone callsand through text messages (fromhis known personalphone). The Victimrecalled

one phone call where LORIA stated he would bum her place of business down with all the
                                              3
           Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 5 of 17




animals inside it. LORIA also told the Victim that he had connections to the mafia and to

cold blooded kihers who owed him favors, and who would take care of people who crossed

him. The Victim told the FBI that she deleted aU the texts from LORIA's personal number -

she stated she did this at a time when she wanted him out of her life.

          10.   In February 2017, the Victim had dinner with her daughter, her daughter's

father (Victim's ex-boyfriend), and another individual. After dinner, LORIA approached her

ex-boyfriend in the parking lot. LORIA told him that he would beat him every day for the

rest of his life and that if he went to jail that he would beat him again after he got out. When

the Victim attempted to intervene and LORIA said "you fucking hugged him when got out

of the car" referencing a greeting that had taking place approximately an hour and a half

earher.


          11.   Following the dinner incident the Victim began receiving escalating threats

via phone call, text message, or in person at her place of business. LORIA told the Victim

that she had crossed him and he had no choice but to teach her a lesson. LORIA also claimed

that he would ruin her reputation as a business owner and drain her financiaUy. The Victim

subsequently warned her employees not to let LORIA on the property.

          12.   In June 2017, the Victim went to a local YMCA for the first time. Upon

leaving the facihty and walking to the parking lot, she noticed that a vehicle was parked

extremely close to her driver side door. When the Victim got closer she noticed LORIA in

the vehicle blocking her access to her vehicle.

          13.   On multiple occasions, LORIA would sit at the end of the Victim's driveway

at approximately 8:00 AM - 8:15 AM; this is the same time the Victim woiild walk her
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 6 of 17




daughter to the school bus. LORIA would routinely be in a black convertible with the top

down. The Victim stated this behavior started in 2015, would occur about two times a month,

and was last observed in June 2018.


       14.     On or about September 3, 2017, the Victim received a text message from the

phone number 585-250-XXXX. The message stated that it was sent from LORIA's nephew

'Angel'. The Victim confirmed LORIA did have a nephew by this name but that she did not

know him. The message referenced the dinner incident and that the Irondequoit Police

Department bad gotten involved, which was accurate. The text further stated that LORIA

was falsely arrested and was facing jail time, which was "NOT GOOD".

       15.     On or about September 22, 2017, the Victim received a text message from

phone number 786-535-XXXX. The message stated "So you and Charlie Tan planned to kiU

our boss and family member for the money be bad left you .... your dead dog lady". Prior to

this text message LORIA bad claimed that be bad a $1,000,000 life insurance policy which

named the Victim as the beneficiary. The Victim also confirmed that she bad allowed Cbarbe

Tan to volunteer at her place of business while be was undergoing legal events. The Victim

explained she interpreted the message to appear to come from someone in the mafia working

for LORIA (the boss). The Victim believed this was another text actually sent from LORIA.

       16.     On or about May 6, 2019, the Victim forward an email that she bad

previously received from LORIA on November 21, 2017. LORIA used the email address

teddvloria@,vaboo .com. The full content of the email addressed multiple issues that LORIA

felt bad occurred over the course of the relationship with the Victim. LORIA used a vniting

style of capitalizing key words throughout the email, similar to the writing style in the
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 7 of 17




harassing text messages. Also included in the email were two references to Charlie Tan.

Those included: "...@ Christmas time just because I refused to attend Christmas eve diimer

with Charlie Tan, who "admitted" kdhng his own father, and was invited well after me...",

and ".. .It has come to my attention that you asked Charhe Tan to kill me so you could receive

the one million dollar insurance policy which I took out on your behalf in June 2016".

       17.      On December 24, 2017, the Victim received a phone call from 716-783-

XXXX; when she answered she could hear someone breathing then the caller hung up. The

Victim then received a text message from the same number that stated "You know who it is.

If you want to talk call me back." Approximately 15 minutes later, the Victim received

another text message that stated, "Merry Christmas Don't ever think your safe because you

betrayed the wrong person this time Im {sic\ going to kill you and your daughter will be going

to live with her father". The Victim called 911 and the Wayne County Sheriffs Department

responded. Upon recommendation from the responding officer, the Victim made a call to the

716-783-XXXX and the phone went straight to voicemail. The Victim then called LORIA on

his personal phone, that being 585-739-XXXX; the Victim asked LORIA if he had just called

and LORIA denied it. LORIA then asked the Victim, "are you sitting in the back of a pohce

car?" The Victim was at the time.


       18.      On March 18, 2018 the Victim received a text message from phone number

585-353-XXXX. The text message stated it had been sent from the Irondequoit Police

Department ("... we Irondequoit Police Officers...") and referenced the incident on

December 24, 2017. The message included the name of the responding officer from the

Wayne CountySheriff's Office. The message endedwith "We are aU now your ENEMYand
                                              6
         Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 8 of 17




we are a national fraternity of brotherhood which know where ALL your family members

live [Victim mother's address] [Victim sister's address]". The Victim confirmed the addresses

of her family members were correct.

       19.      On May 28, 2018, the Victim received a text message from phone number

585-820-XXXX, and in text the sender claimed to be Dave Ferrari. Ferrari stated he was a

former Monroe County Sheriff's Deputy and was now a process server. The message stated

he wanted to make an appointment to discuss contents of a demand letter. The text further

explains that Ferrari had been hired to serve the letter and that it includes very personal

information regarding (the Victim) and her businesses which might be disclosed in two

separate lawsuits. The Victim did not respond to the text message. On June 6, 2018, a male

claiming to be Ferrari showed up at her place ofbusiness and dehvered paper documentation

titled "Lawsuit #1" and "Lawsuit #2".        Based upon my training and experience, the

documents do not appear to have been drafted by any reputable legal professional. The

documents contain multiple sections in bold font that appear to be direct quotes extracted

from conversations or text messages with the Victim. Lawsuit #1 begins "Facts which will

be disclosed to the general public (on the internet) in the lawsuit regarding surveillance and

research from 7-27-15...". Lawsuit #2 begins "Facts which will be disclosed to the general

public (onthe internet) in the lawsuit regarding non-payment of services rendered for security
work to protect both dog kennels which are very UNSAFE for customers pets due to [Victim

name] LONG list of enemies.!!!".

       20.
         Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 9 of 17




                                      Search Warrant Findings

       21.       On July 9, 2018, the FBI obtained a Search Warrant authorizing the search

of cellular phone numbers 585-250-XXX, 585-353-XXXX, 716-783-XXXX, 786-535-XXXX,

585-739-XXXX, 585-820-XXXX, and 585-280-XXXX, to include the search of subscriber

information, toll records, historical tower data, and precision GPS data.

       22.       The Verizon results for phone number 585-739-XXXX identified the

subscriber as Lisa Yeager, address in Rochester, NY. Billmg details identified six phone

numbers under this account, and phone number 585-739-XXXX known to be used by

LORIA.       The IMEI number associated with the LORIA 585-739-XXXX number was

359177070857220. Your Affiant knows the IMEI number to be the International Mobile

Equipment Identity number which is a unique to the device.

       23.      The Verizon results for phone number 585-820-XXXX identified the

subscriber as a pre-paid phone through TracFone. One of the five latitude and longitude data

coordinates included in the Verizon results was 43.23681, -77.69135. Open source search of

those coordinates through Google Maps identified a location within Stoney Creek

Apartments, near the intersection of English Road and Long Pond Road in Rochester, NY.

New York state registration information identified David Ferrari with an address of 813

Stowell Drive, #A-5, Rochester, NY 14616; your Affiant knows this address to be at the same

Stoney Brook Apartment complex.

                                 December 2018 Incidents



       24.       The Victim contacted the FBI on December 22, 2018, and stated that she

received a disturbing text message earlier that same day. The text message was sent from
                                              8
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 10 of 17




phone number 585-351-XXXX, to the personal ceUular phone of the Victim. The message

included the following:

              We know everything about you and your family

              We know what you look hke

              We know where you live

              We know you drive a black Lexus SUV

              We know the back of your house faces a dark cornfield

              We know everything about your daughter [Victim daughter's first name,
              hereinafter 'VDFN']

              We know what your daughter VDFN looks like

              We know your daughter VDFN's bedroom window faces the woods and dark
              cornfield

              We know what school your daughter VDFN goes too [s/c]

              We know what time your daughter VDFN leaves for school in the morning
              We know what school bus your daughter VDFN takes to school

              We know what time your daughter VDFN gets out of school to go home
              We know what time your daughter VDFN gets home from school


       25.      A review of an FBI internal database identified that carrier for phone number

585-351-XXXX was T-Mobile. A preservation request was sent via email to T-Mobile on

December 26, 2018 and confirmed via phone on December 27, 2018.

       26.      While speaking with the FBI on December 22, 2018 the Victim

communicated two additional incidents. After sunset on Sunday, December 16, 2018, the

Victim noticedtwo flashlights in the field outside her residence. The Victim went outside and

yelled in the direction ofthe flashlights to getoffher property. Only after getting herdog and
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 11 of 17




yelling that she was going to release the dog did the flashlights go away. The Victim stated

that she was unable to see or hear anyone and that only after receiving the text message on

the 22°'' did she think it may be related.

       27.       The Victim also stated that she received a phone caU from LORIA on

November 25, 2018. In that phone call LORIA told her that he knew she was trying to have

him killed. LORIA called the Victim from phone number 585-261-XXXX. Upon hearing his

voice the Victim immediately hung up the phone. She attempted to dial the number back

later but no one answered. A review of an FBI internal database identified the carrier of

phone number 585-261-XXXX as Verizon.

       28.       On Christmas morning, December 25,2018, the Victim communicated to the

FBI that a white male knocked on her door at 7:45 AM. The individual told die Victim he

was a process server and instructed her to open her door. The Victim did not open the door

and walked away from the front door area. The Victim went to a nearby window and took

two pictures with her cellular phone. The images show a white male driving a dark black or

blue Hjomdai sedan. The white male in the photo, based upon your Affiant's comparison,

closely resembles the DMV photo of David Ferrari.

       29.       On January 3, 2019, the FBI interviewed employees of the Vision Hyundai

Henrietta car dealership including the President of the Vision Auto Group. During this

interview, both Vision employees stated that LORIA, who is employed at the dezilership as

ovemight security, was one ofthe individuals that would have had access to a Hyundai dealer

vehicle and dealer license plates. The only other individuals with access to the vehicles would

have been sales team supervisors. During the interview the Vision employees confirmed that
                                              10
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 12 of 17




no vehicles were out on test drives during the time period of December 23, 2018 through

December 25, 2018. They also stated that for the first time in the history of the organization,

they were closed for three consecutive days, December 23, 2018 through December 25, 2018

further indicating that no dealer cars should have been on the road. The employees stated

that it would have been a clear violation ofpohcy to take a dealer vehicle from the dealership

without permission and give that car to another person.

       30.      A preservation request was sent via fax to Verizon on December 26,2018 and

was confirmed via phone on December 27, 2018 for phone numbers 585-739-XXXX, 585-

820-XXXX, 585-261-XXXX.

       31.      On January 3, 2019, the FBI obtained a Search Warrant authorizing the

search of cellular phone numbers 585-739-XXXX, 585-820-XXXX, 585-261-XXXX with

Verizon and 585-351-XXXX with T-Mobile. The Search Warrant authorized the search of

subscriber information, toll records, historical tower data, and precision GPS data for aU

referenced phone numbers.

       32.      Subscriber results for 585-351-XXXX showed a pre-paid phone activated on

December 22, 2018 with no subscriber name listed.

                           Februarv 3. 2019 Phvsical Surveillance


       33.      The Victim contacted the FBI on February 3,2019 through a series ofemails.

Those emails stated that the Victim was driving to her mother's house to pick up her daughter

when she identified LORIA following her. The Victim estimated that LORIA followed her

for approximately three nules until she reached a populated area and pulled over to let him

pass. The Victim sent multiple emails to the FBI with a variety of video and image files. In
                                              11
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 13 of 17




those files, a dark black or blue Hyundai sport utility vehicle is shown with a white male

driver. The Victim told the FBI that she was confident it was LORIA.

                      Februarv 9. 2019 Life Threatening Text Message


       34.      FBI Special Agent (SA) Kevin Parker received a phone call from the Victim

on the morning ofFebruary 9,2019. During that call the Victim described a text message she

had received to a work cellular phone at her place ofbusiness. The text message was sent at

approximately 11 PM eastern on February 8, 2019, but was not read until the moming of

February 9, 2019. The message stated the following, "Make sure when you get in your black

SUV # ASD-[actual license plate of Victim] it doesn't explode from a bomb or make sure

when you stop at a traffic fight someone doesn't pull up next to you and blow your Rat face

off with a shotgun [new fine] Hope your windows are bulletproof because someone might

sniper you out or throw a bomb through them tapped to a brick [new line] You and Charlie

Tan tried to kill the wrong person".




                                            12
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 14 of 17




                          II • Vefizon LTE           3:13 PM         ®- t   73%


                           <0
                                                 (585) 503-6351


                                                  Text Message
                                                Yesterday 11 02 PM


                             Make sure when you get in
                             your black SUV # ••••§    it
                              doesn't explode from a bomb
                              or make sure when you stop at
                              a traffic light someone doesn't
                              pull up next to you and blow
                              your Rat face off with a
                              shotgun
                              Hope your home windows are
                              bulletproof because someone
                              might sniper you out or throw a
                              bomb through them tapped to
                              a brick
                              You and Charlie Tan tried to kill
                              the wrong person




                             HSi                 IMessage




                         Figure 1: Image taken by the FBI of the Victim's Phone


         35.    The Victim told the FBI that February 9th was her daughter's birthday and

that LORIA has a history of escalating his behaviors on holidays or special dates.

                                             Interview of David Ferrari


         36.    On May 6, 2019 David Ferrari was interviewed at his residence, by FBI SA

Kevin Parker and your affiant. In sum and substance, Ferrari said he serves legal process as


                                                      13
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 15 of 17




part of his employment. He also workspart-timefor Vision Hyundai but does not get paid by

them, rather he is paid by LORIA. Ferrari was shown images taken from the Victim's place

of employment. Ferrari confirmed the images included photos of him servinglegal process to

the Victim for LORIA. Ferrari went on to say LORIA had a relationship with the Victim.

Ferrari believed LORIA, however, was not able to get over the fact that the relationship

ended. LORIA told him that he was going to initiate a $1,000,000 hfe insurance policy with

the Victim as the beneficiary. LORIA became obsessed with the idea that the Victim was

going to have LORIA killed by Charhe Tan. LORIA told Ferrari about an incident on

Christmas Eve 2015 or 2016 when he (LORIA) was invited to the Victim's for Christmas Eve

ditmer. LORIA later leamed Charhe Tan would also be there and believed Charlie Tan would

kill him if he went.


         37.     Also during the May 6,2019 interview, Ferrari stated LORIA had said he did

security work for the Victim, for which he had not been paid. Ferrari believed the legal papers

he had served to the Victim had to do with unpaid security work performed by LORIA. SA

Parker and your affiant were told by Ferrari to interview LORIA for details and went on to

say LORIA saves everything. When asked where LORIA saves his information, Ferrari said

he believed he saved it on his phone. Ferrari providedhis phone number as 585-820-XXXX.

When asked for LORIA's phone number, he said he would rather not give it and declined.

         38.     Followingthe interviewofFerrari, SA Parker and your affiantspokewith the

Victim via telephone. She was informed SA Parker and your Affiant had just interviewed

Ferrari and was asked if she could answer a few follow up questions. When asked about her

knowledge ofan insurance policy, theVictim recalled LORIA telling herabout a pohcy where
                                              14
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 16 of 17




she was the beneficiary. She recalled LORIA showing her an image on his cell phone, which

he claimed was proof he had taken out an insurance policy. The Victim was never able to

confirm a policy existed. When asked about Charlie Tan, the Victim said a mutual fi"iend

asked if Tan could volunteer at her business. The Victim was reluctant at first because she

didn't know how her clients would feel. The Victim eventually allowed Tan to volunteer. He

would come in every Thursday to walk the dogs. Regarding the holiday dinner, the Victim

said her mother had invited LORIA for Christmas dinner. Prior to the dinner, the Victim had

learned Tan did not have a place to go for Christmas, so she invited Tan for dinner. LORIA

learned Tan had been invited and was clearly upset by Tan's invitation.

       39.       On August 18, 2019, your affiant was contacted by Victim. Victim said she

was driving her vehicle with her daughter in the passenger seat when a black Mercedes SUV

drove up behind her at a high rate of speed. The vehicle pulled up directly to her rear bumper

in an alarming manner and then passed Victim at a high rate of speed. Victim continued

traveUing in the same direction. Victim saw the same Mercedes SUV waiting off to the side

of the road. The SUV was parked in the gravel/ dirt facing the road. As Victim passed the

vehicle, she slowed to see who was driving die vehicle and observed LORIA alone in the

driver's seat. Victim took several pictures of same. Considering previous incidents and

contacts with LORIA, Victim and her daughter were extremely alarmed and concemed for

their physical safety.

       40.       On August 26, 2019, LORIA filed a civil complaint at Wayne County

Supreme against the Victim and Charlie Tan. The complaint alleged that, " Defendants

[Victim] and Charles Tan devised a scheme to have me killed in order for [Victim] to receive
                                              15
        Case 6:20-cr-06074-EAW Document 1 Filed 09/10/19 Page 17 of 17




the life insurance money of one million dollars which she was the sole beneficiary". It should

be noted the allegations of having LORIA killed are also made in the text sent to [Victim] on

February 8, 2019 firom burner phone number 585-503-XXXX.



WHEREFORE, based on the foregoing, I respectfully submit that there is probable cause to

believe that Theodore LORIA did knowingly violate Title 18, United States Code, Sections

2261A(1)(B), 2261A(2)(B) (Cyber Stalking).




                                           NICHOLAS ^TiLOLK
                                           EBI Task For^ Officer


Sworn to before me this joth
  fd^ ofSepten/fQX 2019.
             10^
JONATHAN W. FELDMAN
United]States Magistrate Judge




                                             16
